 4:08-cr-03089-RGK-DLP              Doc # 84    Filed: 02/06/09       Page 1 of 3 - Page ID # 162




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                       Plaintiff,                       )
                                                        )       4:08CR3089
       vs.                                              )
                                                        )       PRELIMINARY ORDER
MARIA CARRERA,                                          )       OF FORFEITURE
ROBERTO GALVAN,                                         )
                                                        )
                       Defendants.                      )



       NOW ON THIS 6th day of February, 2009, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I and II of said Indictment. Count I of said Indictment charges the Defendants with

conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846. Count II of said

Indictment charges the Defendants with using                a 1997 BMW Z3 2.8 convertible, VIN

4USCJ332XVLC01786, to facilitate the commission of the conspiracy and charges said personal

property is derived from proceeds obtained directly or indirectly as a result of the commission of the

conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
 4:08-cr-03089-RGK-DLP            Doc # 84      Filed: 02/06/09       Page 2 of 3 - Page ID # 163




        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon Count II of the Indictment and the Defendant's plea of guilty, the United

States is hereby authorized to seize the                1997 BMW Z3 2.8 convertible, VIN

4USCJ332XVLC01786.

        C. The Defendants’ interest in said property are hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

        D. The aforementioned forfeited property is to be held by the United States in its secure

custody and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official Government internet site (www.forfeiture.gov) notice of this

Order, Notice of Publication evidencing the United States’ intent to dispose of the property in such

manner as the Attorney General may direct, and notice that any person, other than the Defendants,

having or claiming a legal interest in any of the subject forfeited property must file a Petition with

the court within thirty days of the final publication of notice or of receipt of actual notice, whichever

is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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 4:08-cr-03089-RGK-DLP          Doc # 84      Filed: 02/06/09      Page 3 of 3 - Page ID # 164




       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 6th day of February, 2009.


                                                        BY THE COURT:

                                                        s/ RICHARD G. KOPF, JUDGE
                                                        United States District Court




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